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10                        IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEVADA
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12    LEX VEST LTD, a Nevada limited
      liability company;                              Case no. 2:22-cv-01226-ART-BNW
13
             Plaintiff,
14                                                   STIPULATION AND ORDER FOR
             v.                                         EXTENSION OF TIME TO
15                                                     RESPOND TO INTERVENOR
      EMANATION COMMUNICATIONS                       BRADEN KARONY’S MOTION TO
16    GROUP LC, a Utah limited liability                  DISMISS [ECF NO. 51]
      company; DOES 1 through 50; and ROE
17    ENTITIES 51 through 100, inclusive,                     (First Request)

18           Defendants.

19
      Emanation Communications Group LC, a
20    Utah limited liability,

21           Counterclaim Plaintiff,

22           v.

23    Lex Vest Ltd, a Nevada limited liability
      company,

                                                 1
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1
             Counterclaim Defendant
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3
      Emanation Communications Group LC, a
4     Utah limited liability,

5            Third-Party Plaintiff,

6            v.

7     Lex Tecnica LTD, a Nevada limited
      liability company, Sam Castor, a manager
8     of Lex Tecnica and Nevada resident,
      Adam Knecht, a manager of Lex Tecnica
9     and Nevada resident, Nathan Morris, a
      manager of Lex Tecnica and Utah
10    resident, and Braden John Karony, an
      individual and resident of Utah,
11
             Third-Party Defendants.
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14          Pursuant to Fed. R. Civ. P. 6(b) and Local Rule IA 6-1, Intervenor Braden John

15   Karony (“Intervenor”), and Defendant-Third Party Claimant Emanation Communications

16   Group LC (“Defendant”) hereby stipulate to an extension of time in which Defendant-

17   Third Party Claimant has until Monday December 5, 2022 to file its response to

18   Intervenor’s Motion to Dismiss Third-Party Claims [ECF No. 51] filed herein on

19   November 15, 2022.

20          This is the first request to extend this deadline. The extension request is being

21   made to due to counsel for Defendant’s absence from the office for family matters

22   beyond the Thanksgiving holidays.

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1     DATED: November 21, 2022.                    DATED: November 21, 2022.

2     DUREN IP, PC                                 PARSONS BEHLE & LATIMER

3     By:    /s/ Todd E. Zenger                    By: /s/ Ashley C. Nikkel
       Todd E. Zenger (Pro Hac Vice)               Michael R. Kealy, Nevada Bar No. 0971
4      Utah Bar No. 5238                           Ashley C. Nikkel, Nevada Bar No. 12838

5      -and-                                       Attorneys for Intervenors
                                                   Braden John Karony, Ronin Energy
6      Jeffrey J. Whitehead, NV Bar No. 3183       Group, LC, and Ronin Real Estate
       Whitehead & Burnett                         Holdings, LC
7
       Attorneys for Defendant
8      Emanation Communications Group LC

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     IT IS SO ORDERED.
12
           Dated: November 23, 2022.
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14                                         Anne R. Traum
                                           United States District Judge
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